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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

ERIK GARCIA,                                          )
                                                      )
                         Plaintiff,                   )
                                                      )       CIVIL ACTION
vs.                                                   )
                                                      )       FILE No. 4:20-CV-00020
EDGEBROOK BUSINESS, INC. and                          )
SPRING ENTERPRISES, LP,                               )
                                                      )
                         Defendants.                  )


                                      NOTICE OF SETTLEMENT

       Plaintiff, ERIK GARCIA (“Plaintiff”), by and through the undersigned counsel, hereby

notifies this Court that Plaintiff has reached settlement of all issues pertaining to his case against

Defendants, EDGEBROOK BUSINESS, INC. and SPRING ENTERPRISES, LP.

       Plaintiff   and     Defendants,    EDGEBROOK         BUSINESS,       INC.     and    SPRING

ENTERPRISES, LP, are presently preparing a formal settlement agreement for signature and

intend to file a Joint Stipulation of Dismissal of Defendants with Prejudice once the agreement

is finalized. Plaintiff and Defendants request thirty (30) days within which to file its dismissal

documents.

       Respectfully submitted this 23rd day of July, 2020.

                                               /s/ Douglas S. Schapiro
                                               Douglas S. Schapiro, Esq.
                                               Southern District of Texas ID No. 3182479
                                               The Schapiro Law Group, P.L
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                                CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that a true and correct copy of the foregoing was filed

electronically using the CM/ECF system on this 23rd day of July, 2020.



                                             /s/Douglas S. Schapiro
                                             Douglas S. Schapiro
                                             Southern District of Texas ID No. 3182479




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